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                                                                      August 18, 2016




   To Whom It May Concern:

           I, Santos Acosta, US Resident wiih address at 3833 Stoney Creek Dr. Flowery
    Branch, GA 30542. Hereby writing to you regarding Arnolvin Velasquez Umanzar.

           Whom I personally know since we were little, and when he came to the United
    States we reunited again and worked together in the landscaping business, 1 formed
   my company and Arnolvin worked for me during the period of June 2013 until May
   2015 <m<\ in ail ihis lirne of knowing him. lie has demonstrated to me to be a very hard
   worker man, honest i\nd responsible, and easy going individual, friendly and willing to
   help when needed.

           In ail these years 1have never notice any fault, or legal problems in which he
   could be invoived, he always has been a very clear man, good husband and excellent,
   father to his children with good principles and moral character.

           I definitely consider that he deserves the opportunity to stay in this country
   legally
     •£>'
           following his dreams to build a better future for him and his family.

           If you have any further questions, please fee! free to contact me at the address
   listed above or by phone at: (>7«S~4717372.




   Santos Acosta




                                                       Sworn to unci subscribed before me
                                                     ^Thisi 18th day ofAugust, 2016.
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